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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS

                                 SUPPLEMENTAL CIVIL COVER SHEET
                                       FOR A REMOVED CASE

   This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S
   District Clerk’s Office. Additional sheets may be used as necessary.

   1.       Style of the Case: Brandy Castor v. Karl Dawson and Swift Transportation Co. of
            Arizona, L.L.C.

          Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaim(s),
   Crossclaimant(s) and Third Party Claimant(s) still remaining in the case and indicate their party
   type. Also please list the attorney(s) of record for each party named, and include their bar
   number, firm name, correct mailing address, and phone number (including area code.)



             Party                       Party Type                       Attorney(s)
Brandy Castor                              Plaintiff             John C. Wren
                                                                 State Bar No. 22019100
                                                                 Loncar & Associates
                                                                 424     S.   Cesar    Chavez
                                                                 Boulevard
                                                                 Dallas, Texas 75201-5808
                                                                 (214) 747-0422 - Telephone
                                                                 (214) 382-5838 - Facsimile

Karl Dawson and Swift                     Defendants             David L. Sargent
Transportation Co. of Arizona,                                   State Bar No. 17648700
L.L.C.                                                           Chuck W. Shiver II
                                                                 State Bar No. 00792832
                                                                 Sargent Law, P.C.
                                                                 1717 Main Street, Suite 4750
                                                                 Dallas, Texas 75201
                                                                 (214) 749-6000 – Telephone
                                                                 (214) 749-6100 - Facsimile




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2.     Jury Demand:

       Was Jury Demand made in State Court?                   Yes             (No)

               If “Yes,” by which party and on what date?


               Party                               Date


3.     Answer:

       Was an Answer made in State Court?                     Yes             (No)

               If “Yes,” by which party and on what date?


               Party                               Date



4.     Unserved Parties:

       The following parties have not been served at the time this case was removed:

               Party                               Reason(s) for No Service
               Karl Dawson                         Unknown


5.     Nonsuited, Dismissed or Terminated Parties:

        Please indicate any changes from the style on the state court papers and the reason for
that change:

               Party                                Reason
               None.


6.     Claims of the Parties:

         The filing party submits the following summary of the remaining claims of each party in
this litigation:

       Party                                                 Claim(s)

       Brandy Castor


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                                            Plaintiff brings claims alleging the
                                            negligence and negligence per se of
                                            Defendant Paul William Shamblin with
                                            regard to an automobile accident that
  Karl Dawson and Swift Transportation Co.  occurred on May 10, 2016, and that
  of Arizona, L.L.C.                        Defendant Swift Transportation Co. of
                                            Arizona, L.L.C. is liable under Respondeat
                                            Superior negligent entrustment.


                                               Defendants deny they were negligent in the
                                               accident made the basis of this suit. Further,
                                               Defendants deny that their conducted caused
                                               the Plaintiffs’ injuries, if any.




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